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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MINNESOTA
________________________________________________________________________

UNITED STATES OF AMERICA,

                  Plaintiff,

v.                                          Court File No. 17-cv-136 (PAM/FLN)

KLEINBANK,

                  Defendant.

________________________________________________________________________

                          [PROPOSED] ORDER
________________________________________________________________________

      This matter is before the Court on Defendant KleinBank’s Sealed Objections to

the Sealed Report and Recommendation (“Objections”). Doc. No. 61. Based upon the

parties’ submissions, the arguments of counsel, and all of the files, records, and

proceedings herein, IT IS HEREBY ORDERED that:

      1.    Defendant KleinBank’s Objections (Doc. No. 61) are SUSTAINED;

      2.    The Court respectfully DECLINES TO ADOPT the Sealed Report and
            Recommendation (Doc. No. 51); and,

      3.    Defendant KleinBank’s Motion to Dismiss (Doc. No. 18) is GRANTED
            and the claims in the Complaint are dismissed with prejudice.


Dated: March __, 2018
                                       Paul A. Magnuson
                                       United States District Court Judge
